Case 2:OO-CV-03082-BBD-STA Document 109 Filed 05/04/05 Page 1 of 3 Page|D 152

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

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WESTERN DIVISION
) Hoeeertt ~'»--~
COUNTRYWIDE HOME LOANS INC., ) lima dry y v

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Plaintiff, §
v. § Case No. 00-3082-D
AARON PERKINS, et al., §
Defendants. §
ORDER

 

The Court hereby directs the parties in the instant matter to tile a joint status report within

thirty days of entry of this Order.

IT IS SO ORDERED this z/M

Th:'s document entered on the docket sheet in c mp|iahce
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with Ru|e 58 and/or 79{e) FFiCP on

day ofMay, 2005.

 

U ITED STATES DISTRICT COURT

 

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ESSEE

 

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Case 2:OO-CV-O3082-BBD-STA Document 109 Filed 05/04/05 Page 3 of 3 Page|D 154

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